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               ICTSI Oregon, Inc.

                                   IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF OREGON
                                            PORTLAND DIVISION

       INTERNATIONAL LONGSHORE                                                   No. 3:12-cv-01058-SI
       AND WAREHOUSE UNION and
       PACIFIC MARITIME ASSOCIATION,

                            Plaintiffs,
               vs.
                                                         ENFORCEMENT OF COLLECTIVE
       ICTSI OREGON, INC.,                               BARGAINING AGREEMENT (§301 LMRA)
       an Oregon corporation,

                            Defendant.

       ICTSI OREGON, INC.,                               ANSWER
       an Oregon corporation,

                        Counterclaim Plaintiff
               vs.

       INTERNATIONAL LONGSHORE                           JURY TRIAL REQUESTED
       AND WAREHOUSE UNION and
       PACIFIC MARITIME ASSOCIATION,

                        Counterclaim Defendants



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               For answer to Plaintiffs’ Complaint for Confirmation and Enforcement of Final and

      Binding Rulings under Collective Bargaining Agreement, defendant admits, denies and alleges

      as follows:

               1.       Defendant denies the allegations of paragraph 1 of Plaintiffs’ Complaint.

               2.       Defendant admits the allegations of paragraph 2 of Plaintiffs’ Complaint.

               3.       Defendant admits the allegations of paragraph 3 of Plaintiffs’ Complaint.

               4.       Defendant admits the allegations of paragraph 4 of Plaintiffs’ Complaint.

               5.       Defendant admits the allegations of paragraph 5 of Plaintiffs’ Complaint.

               6.       Defendant admits the allegations of paragraph 6 of Plaintiffs’ Complaint.

               7.       Defendant admits the allegations of paragraph 7 of Plaintiffs’ Complaint.

               8.       Defendant admits the first two sentences of paragraph 8 but denies each and every

      other allegation contained in paragraph 8 of Plaintiff’s Complaint.

               9.       Defendant admits the allegations of paragraph 9 of Plaintiffs’ Complaint.

               10.      Defendant admits the allegations of paragraph 10 of Plaintiffs’ Complaint.

               11.      Defendant denies the allegations of paragraph 11 of Plaintiffs’ Complaint.

               12.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 12 of Plaintiffs’ Complaint.

               13.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 13 of Plaintiffs’ Complaint.

               14.      Defendant denies the allegations of paragraph 14 of Plaintiffs’ Complaint.

               15.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 15 of Plaintiffs’ Complaint.

               16.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 16 of Plaintiffs’ Complaint.

               17.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 17 of Plaintiffs’ Complaint.


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               18.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 18 of Plaintiffs’ Complaint.

               19.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 19 of Plaintiffs’ Complaint.

               20.      Defendant admits the allegations of paragraph 20 of Plaintiffs’ Complaint.

               21.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 21 of Plaintiffs’ Complaint.

               22.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 22 of Plaintiffs’ Complaint.

               23.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 23 of Plaintiffs’ Complaint.

               24.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 24 of Plaintiffs’ Complaint.

               25.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 25 of Plaintiffs’ Complaint.

               26.      Defendant admits that is what the document states but denies each and every other

      allegation contained in paragraph 26 of Plaintiffs’ Complaint.

               27.      Defendant lacks sufficient knowledge or information to form a belief as to the

      truth of paragraph 27 of Plaintiffs’ Complaint.

               28.      Defendant admits the first sentence of paragraph 28 but denies each and every

      other allegation contained in paragraph 28 of Plaintiff’s Complaint.

               29.      Defendant lacks sufficient knowledge or information to form a belief as to the

      truth of paragraph 29 of Plaintiffs’ Complaint.

               30.      Defendant denies the allegations of paragraph 30 of Plaintiffs’ Complaint.

               31.      Defendant admits that paragraph 31 of Plaintiffs’ Complaint correctly states the

      text of the minutes. Except as admitted, Defendant denies each and every other allegation of


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      paragraph 31 of Plaintiffs’ Complaint.

               32.      Defendant denies the allegations of paragraph 32 of Plaintiffs’ Complaint.

               33.      Defendant admits the allegations of paragraph 33 of Plaintiffs’ Complaint.

               34.      Defendant admits that paragraph 34 of Plaintiffs’ Complaint incorporates the

      ruling of the Arbitrator. Defendant denies that the Arbitrator made any finding regarding work

      jurisdiction.

               35.      Defendant admits that paragraph 35 of Plaintiffs’ Complaint incorporates the

      ruling of the Arbitrator. Defendant denies that the Arbitrator made any finding regarding work

      jurisdiction.

               36.      Defendant denies the allegations of paragraph 36 of Plaintiffs’ Complaint.

               37.      Defendant admits that paragraph 37 of Plaintiffs’ Complaint incorporates the

      ruling of the Arbitrator. Defendant denies that the Arbitrator made any finding regarding work

      jurisdiction.

               38.      Defendant denies the allegations of paragraph 38 of Plaintiffs’ Complaint.

               39.      Defendant denies the allegations of paragraph 39 of Plaintiffs’ Complaint.

               40.      Defendant denies the allegations of paragraph 40 of Plaintiffs’ Complaint.

               41.      Defendant denies the allegations of paragraph 41 of Plaintiffs’ Complaint.

               42.      Defendant denies the allegations of paragraph 42 of Plaintiffs’ Complaint.

               43.      Defendant denies the allegations of paragraph 43 of Plaintiffs’ Complaint.

               44.      Defendant denies the allegations of paragraph 44 of Plaintiffs’ Complaint.

               FOR ITS FIRST AFFIRMATIVE DEFENSE, DEFENDANT ALLEGES:

               45.      Plaintiffs lack clean hands.

               FOR ITS SECOND AFFIRMATIVE DEFENSE, DEFENDANT ALLEGES:

               46.      The Decision and Award by the Pacific Coast Labor Relations Committee is

      invalid because:

                        A.       The participants had a conflict of interest and/or were biased;


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                        B.       The panel was improperly constituted;

                        C.       The Defendant was not provided notice or opportunity to be heard;

                        D.       The Decision is the product of a conspiracy, in violation of Section 2 of

      the Sherman Act to monopolize the provision of stevedoring services in west coast ports;

                        E.       The Decision does not draw its essence from the agreement;

                        F.       The Decision fails to recognize that the Defendant lacked control over

      assignment of the work;

                        G.       The CLRC acted outside of the scope of its authority by directing

      Defendant to assign work that is performed by employees of a non-PMA member; and

                        H.       The Decision is against public policy and/or directs Defendant to engage

      in an illegal act.

                FOR ITS THIRD AFFIRMATIVE DEFENSE, DEFENDANT ALLEGES:

                47.     The National Labor Relations Board has primary or exclusive jurisdiction over

      the dispute.

                48.     Any arbitration award is preempted by the outcome of a Section 10(k) or

      secondary boycott determination by the National Labor Relations Board.

                FOR A FOURTH AFFIRMATIVE DEFENSE, DEFENDANT ALLEGES:

                49.     Proceedings herein should be stayed pending resolution of the underlying issues

      by the National Labor Relations Board.

                                             FIRST COUNTER CLAIM

                                        Petition to Vacate Decision and Award

                50.     Defendant incorporates its answers to paragraphs 2 – 6 of Plaintiffs’ Complaint as

      if more fully set forth herein. This Court has jurisdiction pursuant to 29 USC §185 and/or

      pendent jurisdiction.

                51.     Defendant incorporates its Second Affirmative Defense as if more fully set forth

      herein.


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               52.      The Decision of the Pacific Coast Labor Relations Committee is null and void and

      should be vacated.

                                          SECOND COUNTER CLAIM

                                               29 USC §187 Claims

               53.      This Court has jurisdiction pursuant to 29 USC §187.

               54.      Venue is properly sited in the United States District Court of Oregon, Portland

      Division.

               55.      Plaintiff ILWU has contravened 29 USC §§158(b)(B) and (D) by engaging in

      secondary work stoppages and threats of work stoppages.

               56.      Arbitrator Kagel has found that the union did engage in slow down and/or

      stoppage

               57.      As a proximate result of their conduct, Defendant has been damaged in an amount

      to be determined at trial.

                                           THIRD COUNTER CLAIM

                                                     Antitrust

               58.      Jurisdiction is vested in this Court under 15 USC §15.

               59.      Venue is properly sited in the United States District Court of Oregon, Portland

      Division.

               60.      Defendant incorporates its answers to paragraphs 2 - 6 of Plaintiffs’ Complaint

      and paragraphs 55 – 57 of Defendant’s Second Counter Claim as if more fully set forth herein.

               61.      The relevant market is the loading and unloading of freight to and from dockside

      port of rest, for marine oceangoing container cargo on West Coast ports.

               62.      The cargo flowing to and from West Coast ports affects interstate and foreign

      commerce in a not insubstantial manner.

               63.      The PMA and ILWU jointly possess the means to exclude competition within the

      relevant market.


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               64.      In 2008 the PMA and ILWU agreed to extend their monopoly to include plugging

      and unplugging of reefers (contained refrigeration units), work historically performed by other

      unions in Portland but not all ports on the West Coast. This expansion was in the financial

      interest of the PMA as it collects fees from members for each hour worked by Longshoremen.

               65.      In furtherance of their objectives:

                        A.       PMA has threatened Defendant with fines of $50,000 per day unless the

      plugging and unplugging work is assigned to ILWU members;

                        B.       PMA has threatened ICTSI for filing a Section 10(k) hearing before the

      Board and for eliciting truthful testimony at said hearing;

                        C.       PMA agreed to a hearing before the Coast Labor Relations Committee

      without notifying ICTSI; by allowing the Committee to act without being properly constituted;

      by threatening its member if it failed to comply; and jointly seeking, with the Union,

      enforcement of the flawed Committee decision in the Federal Court; and

                        D.       The ILWU and PMA agreed to discriminate against the Port of Portland

      by exempting application of the 2008 Agreement to other ports, but applying it to the Port of

      Portland, thereby discriminating against non-exempt ports and their customers.

               66.      The effect of the conduct of the PMA and ILWU has been to:

                        A.       Harm competition among ports;

                        B.       Reduce competition of electrical contractors with PMA members;

                        C.       Injure IBEW members and contractors in its competition with other

      terminal operators; and

                        D.       To release the number of ships loading and off loading in Portland.

               67.      ICTSI has been harmed by reason of these anticompetitive acts in an amount yet

      to be determined.

               WHEREFORE, Defendant / Counterclaimant prays:

               1.       That Plaintiffs’ Complaint be dismissed in its entirety and Defendant be awarded


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      costs, disbursements and reasonable attorney fees under the Supreme Court’s decision in Bill

      Johnson’s Restaurants, Inc. v. NLRB;

               2.       That the Coast Labor Committee decision be vacated;

               3.       That Defendant be awarded such damages as are proven at trial for violation by

      the Union for violation of §§ 8(b)(4)(B) and (D), together with costs and disbursements; and

               4.       That Defendant be awarded such damages as are proven at trial for violation by

      the Union and PMA for violation of 15 USC §2, together with costs and disbursements, and

      reasonable attorney fees.

               Dated this 21st day of June 2012.

                                                    Respectfully submitted,

                                                    SCHWABE, WILLIAMSON & WYATT, P.C.


                                                            /s/ Thomas M. Triplett
                                                    By:
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